                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                        CIVIL ACTION NO. 3:19-CV-00012

 JANE DOE,

 By and through her Guardian ad litem,
 PAIGE L. PAHLKE;

 And

 KAREN VAUGHN, Individually,

                      Plaintiffs,
                                                     MEMORANDUM OF LAW IN
 vs.                                              SUPPORT OF MOTION FOR DEFAULT
                                                            JUDGMENT
 JAMES PAUL BLAIR, in his individual
 capacity;

                       Defendant.


        COME NOW the Plaintiffs, by and through the undersigned attorney, pursuant to

LCvR 7.1(c), and provide unto the Court their Memorandum of Law in Support of their

Motion for Default Judgment.

                                          FACTS

        At all times relevant, Plaintiff Jane Doe, aged thirteen (13) resided with her mother,

Plaintiff Karen Vaughn, in Lowell, North Carolina. (ECF No. 1, p. 4, par. 21). The City of

Lowell employed Defendant James Paul Blair as a law-enforcement officer. Id.

        In 2015, after Plaintiff Jane Doe ran away from home, Plaintiff Karen requested the

assistance of the Lowell Police Department to find her. Id. at p. 4, par. 25. Defendant Blair

assisted Plaintiff Karen and her husband, Timothy, in finding Plaintiff Doe, however after

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finding her, he told Plaintiff Karen and Timothy that he would bring Plaintiff Doe home,

and he ordered them to leave the area or face arrest. Id. at pp 4-5, pars. 25-29. When he

later returned Plaintiff Doe to her residence, Defendant Blair told Plaintiff Karen and

Doe’s father, Timothy, that working with children was part of his job, and that he could

mentor Plaintiff Doe. Id. at p. 5, pars. 31, 36. Defendant Blair began to communicate with

Plaintiff Doe frequently, visited her at her residence, and took her on rides in his police

cruiser, all while telling her parents and others that anyone who voiced any concern

regarding the propriety of his relationship with Plaintiff Doe could face criminal liability.

Id. at p. 5, pars. 33-34, 37.

       Defendant Blair manipulated Plaintiff Doe into engaging in a sexual relationship

with him, and in 2016, he impregnated her. Id. at pp. 5-6, pars. 38-40, 45. Defendant Blair

pled guilty in Gaston County Superior Court on March 9, 2017 to statutory rape of a child

in violation of N.C. Gen. Stat. § 14-27.25(a). Id. at p. 6 pars. 46-47.

       Plaintiff Doe has suffered physical, psychological, and emotional damage as a

result of Defendant Blair’s actions. Id. at p. 6, par. 48. Plaintiff Karen has likewise suffered

emotionally and psychologically as a result of Defendant Blair’s manipulation and

deception. Id. at p. 7, par. 51. Plaintiff Karen has exercised physical custody over the child

born of Jane Doe and Defendant Blair, and she has incurred significant expenses

associated with care of the child. Id. at p. 6, par. 49. Both Plaintiffs seek damages for the

negligent or intentional infliction of emotional distress upon them, by Defendant Blair,

whose acts of manipulation and deception served to enhance and prolong the suffering

that each of the Plaintiffs suffered. Id. at p. 7, par. 51.

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       Plaintiff Doe sued Defendant Blair for assault and battery, for the negligent or

intentional infliction of emotional distress, and for damages for violation of her

constitutional rights pursuant to 42 U.S.C. § 1983. Id. at pp. 7-8; 11-13, pars. 60-80; 95-107.

       Plaintiff Karen Vaughn sued Defendant Blair for the negligent or intentional

infliction of emotional distress and for medical expenses associated with Defendant

Blair’s wrongful conception of a child with Plaintiff Doe. Id. at pp. 8-11, pars. 75-89. Both

Plaintiffs sought punitive damages from Defendant Blair. Id. at pp. 15-16, pars. 130-137.

                                PROCEDURAL HISTORY

       Plaintiffs filed the Complaint in this action on January 8, 2019. (ECF No. 1).

Plaintiffs served the Summons and Complaint upon Defendant Blair on or about January

20, 2019. (ECF No. 3; ECF No. 8). Plaintiffs requested Entry of Default on or about March

5, 2019. (ECF No. 11). The Clerk entered default against Defendant Blair on or about

March 7, 2019. (ECF No. 12). Plaintiffs have dismissed all other defendants from this case.

(ECF No. 25).

       Plaintiff Jane Doe contends that she is entitled to default judgment for monetary

relief in the amount of $500,000.00 in compensatory damages and $1,500,000.00 in

punitive damages. Plaintiff Karen Vaughn contends that she is entitled to $200,000.00 in

compensatory damages and $600,000.00 in punitive damages.




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                                    ARGUMENT

                         I. Summary of Plaintiffs’ Claims

      Plaintiff Doe alleges that Defendant Blair assaulted her. In North Carolina, a

Plaintiff in an assault case must prove that the Defendant:

      1. “…by an intentional act or display of force and violence threatened the plaintiff
      with imminent bodily injury[;]”

      2. “…that such act or display caused the plaintiff to have a reasonable
      apprehension that [harmful] [offensive] contact with [her] person was imminent.”

      N.C.P.I. – Civil 800.50.

      Plaintiff Doe has alleged that Defendant Blair battered her. A Plaintiff making a

battery claim in North Carolina must prove that the Defendant:

      1. “…intentionally caused bodily contact with the plaintiff[;]

      2. “…that such bodily contact [actually offended a reasonable sense of personal
      dignity] [caused physical pain or injury][;]” and

      3. “…that such bodily contact occurred without the plaintiff’s consent.”

      N.C.P.I – Civil 800.51.

      Both Plaintiffs have alleged that Defendant Blair negligently or intentionally

inflicted emotional distress upon them. A Plaintiff making a negligent or intentional-

infliction-of-emotional-distress claim in North Carolina must prove that the Defendant:

      1. “...engaged in extreme and outrageous conduct[;]”

      2. “…[intended to cause] [or which was] [recklessly indifferent to the likelihood it
      would cause] severe emotional distress to the plaintiff; and”

      3. “…defendant’s conduct in fact caused severe emotional distress to the plaintiff.”



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       N.C.P.I. – Civil 800.60.

       Plaintiff Doe has sued Defendant Blair for violation of her constitutional rights,

pursuant to 42 U.S.C. § 1983. A Plaintiff in an action pursuant to 42 U.S.C. § 1983 in North

Carolina must prove that the Defendant:

       1. Acted under color of law, and;

       2. Deprived Plaintiff of her particular rights under the Constitution of the United
       States.

       9th Circuit Court of Appeals Pattern Jury Instructions 9.2 and 9.18 (2006); 7th Circuit
       Court of Appeals Pattern Jury Instructions 7.08.

       In the Complaint, Plaintiff Doe alleged that Defendant Blair deprived her of her

right to be free from discrimination on the basis of her gender, of her right to due process,

of her right to equal protection, of her right to personal security, of her right to privacy,

and of her right to be free from unlawful assault, battery, and sexual contact at the hands

of a law-enforcement officer. (ECF No. 1, par. 97).

       In a prior case involving a sexual assault by a law-enforcement officer, the Fourth

Circuit described the due process right which was violated by the officer as a “right ... not

to be subjected by anyone acting under color of state law to the wanton infliction of

physical harm.” Jones v. Wellham, 104 F.3d 620, 628 (4th Cir.1997). In another similar case,

the Fourth Circuit alternately described the due process right at issue as “protection

against unreasonable bodily intrusions by state actors” in discussing a claim based on

abusive sexual conduct in a state facility. McWilliams v. Fairfax County Bd. of Supervisors,

72 F.3d 1191, 1197 (4th Cir.), cert. denied, 519 U.S. 819 (1996). In addition, the Fifth Circuit,

in a 1994 case involving sexual abuse of school children by a teacher, held that a claimant

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possessed a well-established “liberty interest in ... bodily integrity.” Doe v. Taylor Ind. Sch.

Dist., 15 F.3d 443, 450–52 (5th Cir.1994), The Ninth Circuit has similarly recognized an

individual’s “right to bodily privacy,” in Sepulveda v. Ramirez, 967 F.2d 1413, 1415–16 (9th

Cir.1992). Finally, the Eighth Circuit has applied the due process analysis to a violation

by a state actor of an individual’s bodily integrity, recognizing in Haberthur v. City of

Raymore, Missouri, 119 F.3d 720, 723 (8th Cir.1997) the due process right to be free from

unwelcome “sexual fondling and touching or other egregious sexual contact” by a police

officer.

       Based on the authorities described above, Plaintiff Doe has made a cognizable

claim for damages under 42 U.S.C. § 1983.

       Plaintiff Doe has made a claim for punitive damages under 42 U.S.C. § 1983.

Punitive damages may be awarded under 42 U.S.C. § 1983 if a Defendant’s conduct was

malicious or in reckless disregard of a plaintiff’s rights. Conduct is in reckless disregard

of Plaintiff’s rights if, under the circumstances, it reflects complete indifference to the

plaintiff’s safety or rights. In determining the amount of punitive damages, courts have

considered the following factors: the reprehensibility of Defendant’s conduct; the impact

of Defendant’s conduct on Plaintiff; the relationship between Plaintiff and Defendant; the

likelihood that Defendant would repeat the conduct if an award of punitive damages is

not made; the relationship of any award of punitive damages to the amount of actual

harm the Plaintiff suffered. See 7th Cir. Pattern Jury Instructions, 7.24.




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       Both Plaintiffs have made a claim for punitive damages under North Carolina’s

punitive damages statute. Under North Carolina law, punitive damages may be awarded

if Defendant injured Plaintiffs through maliciousness, willful or wanton injury, or gross

negligence. Punitive damages may be assessed against Defendant Blair if he intentionally

failed to carry out some duty imposed by law or contract which was necessary to protect

the safety of Plaintiffs, or if he undertook an act wantonly, or in conscious or reckless

disregard for the rights and safety of others, or engaged in gross negligence, that is, he

lacked even slight care, showing indifference to the rights and welfare of others, or

showing negligence of an aggravated character. N.C.P.I. CIVIL 810.91.

       The factual assertions made in Plaintiffs’ Complaint and admitted by Defendant

Blair, coupled with Plaintiffs’ detailed affidavits, show that Defendant Blair engaged in

the very type of egregious conduct for which punitive damages may be awarded.

                      II. Effect of Defendant Blair’s Default

       Upon entry of default, the complaint's factual allegations regarding liability are

taken as true, but allegations regarding the amount of damages must be proven. See Fed.

R. Civ. P 55(b)(2); Geddes v. United Fin. Group, 559 F.2d 557, 560 (9th Cir.1977). Where, as

here, Plaintiffs’ damages are either punitive or are not capable of ascertainment from

definite figures contained in documentary evidence or detailed in affidavits, they require

“proving up” through an evidentiary hearing or some other means. Dolphin v. Ruiz, 2008

WL 4552940, at *3 (C.D.Cal.2008) (citing Dundee Cement Co. v. Howard Pipe & Concrete

Prods., 722 F.2d 1319, 1323–24 (7th Cir.1983)). Plaintiffs’ burden “in ‘proving up’ damages

is relatively lenient.” Elektra Entm't Grp., Inc. v. Bryant, 2004 WL 783123, at *2

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(C.D.Cal.2004) (citing Greyhound Exhibitgroup, Inc. v. E.L.U.L. Reality Corp., 973 F.2d 155,

159 (2d Cir.1992)). Injury is admitted upon default, but the Plaintiffs “still must prove

that the compensation sought relates to the damages that naturally flow from the injuries

pled.” Wu v. Ip, 1996 WL 428342, at *1 (N.D.Cal.1996) (citing Greyhound, 973 F.2d at 159).

The decision to enter default is within the discretion of the district court. Aldabe v. Aldabe,

616 F.2d 1089, 1092 (9th Cir.1980).

       Plaintiffs note that even if Defendant Blair had appeared in this action, he likely

would have been estopped from defending against Plaintiffs’ claims. The doctrine of

collateral estoppel, or issue preclusion, provides that once a court has decided an issue

necessary to its judgment, that decision is conclusive in a subsequent suit as to a party to

that suit, even if the second suit is on a different cause of action. United States v. Mendoza,

464 U.S. 154, 158 (1983). Defendant Blair pled guilty to statutory rape on March 9, 2017.

He has therefore admitted undertaking the act that served as the basis of Plaintiffs’

Complaint.

       Defendant Blair would be collaterally estopped from relitigating the issues that

were resolved in his criminal case, namely the same issues that underlie Plaintiffs’

actions. His admission of guilt, acknowledging that he acted “willfully,” estops him from

litigating Plaintiffs’ entitlement to punitive damages. Jessup v. Hill, 2008 WL 11452320, *4

(M.D.N.C. 2008)(citing McCallum v. N.C. Coop. Extension Serv. of N.C. State Univ., 142 N.C.

App. 48, 54 (2001) (citing King v. Grindstaff, 284 N.C. 348, 358 (1973); Fate v. Dixon, 649 F.

Supp. 551 (E.D.N.C. 1986)(citing Parklane Hosiery Co., 439 U.S. at 331); Fate, 649 F.Supp. at

559 (citing Polk v. Montgomery County, Md., 782 F.2d 1196, at 1201 (4th Cir.1986)).

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       Therefore, even if Defendant Blair had appeared in this action, the case would
almost assuredly have proceeded to this same juncture: a calculation of the measure of
Plaintiffs’ damages.

                               III. Plaintiffs’ Damages

A. Compensatory Damages

       Damages for pain and suffering in claims under 42 U.S.C. 1983 involving sexual

abuse illustrate that such damages, though difficult to quantify, can be substantial. As the

United States Supreme Court explained in County of Sacramento v. Lewis, 523 U.S. 833, 834

(1998), the “shocks the conscience” standard of substantive due process is concerned with

preventing government officials from “abusing their power, or employing it as an

instrument of oppression.”

       That is precisely what Defendant Blair did in this case: he used the authority of his

office to manipulate Plaintiff Doe into an illegal sexual relationship, and he used the same

authority to intimidate Plaintiff Karen into silence. The United States District Court for

the District of Idaho confronted a very similar factual scenario in Nicholson v. Delgadillo,

2014 WL 6895566, No. 1:12-cv-00470-EJL-CWD (Idaho 2014). In that case, the District

Court cited a number of cases illustrating damage awards in cases involving law-

enforcement-officer sexual assaults, cases in which a Plaintiff-victim was required to meet

her “relatively lenient” burden in proving up damages that were largely “punitive or []

not capable of ascertainment from definite figures contained in documentary evidence[.]”

Elektra Entertainment Group, Inc. v. Bryant,     2004 WL 783123 at *2 (C.D.Cal. 2004);

(Additional Citations Omitted).



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 Cases gathered by the Nicholson Court supporting high damage awards included:

 Parrish v. Luckie, 963 F.2d 201, 207 (8th Cir.1992):
 Compensatory damages in the amount of $200,000.00 were awarded to a woman
 falsely arrested and raped by a police officer in a case under 42 U.S.C. 1983.
 --
 Parker v. Williams, 855 F.2d 763, 775 (11th Cir.1988), withdrawn and superseded on other
 grounds, 862 F.2d 1471 (11th Cir.1989): $100,000 in compensatory damages were
 awarded to a plaintiff in a case brought under 42 U.S.C. 1983 who was kidnapped
 and raped by a corrections officer.
 --
 Rogers v. City of Little Rock, 152 F.3d 790 (8th Cir.1998):
 $100,000.00 awarded to a plaintiff who was raped by a police officer after he
 stopped her for a traffic violation.
 --
 West v. Waymire, 114 F.3d 646 (7th Cir.1997): Damages in the amount of $600,000.00
 were awarded to 13-year-old girl who was molested on multiple occasions by
 police officer.
 --
 Jones v. Wellham, 104 F.3d 620 (4th Cir.1997):
 Damages in the amount of $650,000 were awarded to a woman raped by an on-
 duty police officer.
 --
 Doe v. Mann, 2007 WL 2028833 (M.D.Fla.2007):
 Court awarded a plaintiff $1.1 million dollars in compensatory damages
 (comprised of $500,000 for past pain and suffering, $500,000 for future pain and
 suffering, $6,000 for past therapy and $100,000 for future therapy costs) after the
 Defendant defaulted. The case involved a 14–year old plaintiff who was raped by
 a police officer.
 --
 Mitchell v. Bones, 385 F.Supp.2d 62 (D.Me.2005):
 Court awarded $300,000.00 in compensatory damages to a minor in an action
 under 42 U.S.C. 1983 who was forced to engage in sexual activity on three
 occasions by a police officer. The Mitchell Court, citing the Plaintiff’s lack of any
 evidence of hard costs, determined nonetheless that a high damages award was
 justified because the officer-defendant’s “criminal actions against plaintiff, under
 the guise and authority of a law enforcement officer ... represent a severe and
 inexcusable breach of trust and position and have had a substantially deleterious
 effect on [plaintiff].” Id. at 64.

 G.G. v. Grindle, 665 F.3d 795 (7th Cir.2011):
 Court awarded compensatory damages in the amount of $250,000 to 10–year old
 victim of a teacher’s sexual abuse.

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      --
      Hall v. Terrell, 648 F.Supp.2d 1229 (D.Colo.2009):
      In a case under 42 U.S.C. 1983, a Court awarded $354,070.00 in a default judgment
      ($4,070 for medical costs and $350,00 for emotional distress, mental anguish and
      suffering), all comprised of compensatory damages awarded against prison guard
      for brutally raping an inmate.
      --
      Etters v. Shanahan, 2013 WL 787344 (E.D.N.C.2013):
      Court awarded $100,000.00 in compensatory damages to an inmate raped,
      assaulted and harassed by a corrections official, following entry of default
      judgment.
      --
      Trinidad v. City of Boston, 2011 WL 915338 (D.Mass.2011):
      A Court awarded $200,000.00 in compensatory damages to a 19–year old
      prostitute who had been forced to engage in oral sex on several occasions by a
      police officer.
      --
      Ortiz v. Lasker, 2010 WL 3476017 (W.D.N.Y.2010):
      A Court awarded a Plaintiff who was raped by a corrections officer $250,000.00 in
      compensatory damages.
      --
      Plaintiffs respectfully submit that, in addition to the authorities cited above, the

Kauhako case, described below—a case originating in the State of Hawaii—supports their

claims for damages:

      Kauhako v. State of Hawaii Board of Education, 744 Fed. Appx. 344 (9th Cir. 2018):
      The mother of a minor sexual assault claimant was awarded $157,500.00 for the
      intentional or negligent infliction of emotional distress upon her, while the minor
      Plaintiff was awarded $630,000.00 in compensatory damages, $2,825.00 in medical
      damages, and $20,000.00 in future medical damages. See Kauhako v. State of Hawaii
      Board of Education, 2016 WL 7362835 (Hawaii 2016). These damage awards were
      later upheld on appeal.

      Based on these cases and based on the record in this case, Plaintiff Jane Doe

respectfully submits that a compensatory damage award in the amount of $500,000.00 is

reasonable under the circumstances, given the profound permanent damage done to the

emotional well-being of a child at the hands of a law enforcement officer. This award is


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also consistent with and within the range of damages awarded by federal courts in

comparable cases. Plaintiff Karen Vaughn respectfully submits that a compensatory

damage award to her, in the amount of $200,000.00, for the negligent or intentional

infliction of emotional distress upon her, is reasonable under the circumstances, given

the intentional manipulation, deception, and intimidation of her person undertaken by

Defendant Blair, all to serve his purpose in sexually assaulting Plaintiff Karen’s daughter.

B. Punitive Damages

       Punitive damages are available in a case under 42 U.S.C. § 1983 “when the

defendant's conduct is shown to be motivated by evil motive or intent, or when it involves

reckless or callous indifference to the federally protected rights of others.” Smith v. Wade,

461 U.S. 30, 56 (1983).

       The Supreme Court has identified three “guideposts” that bear on the

reasonableness of punitive damages awards. BMW v. Gore, 517 U.S. 559, 574 (1996). These

guideposts are: “(1) the degree of reprehensibility of the tortious conduct, (2) the ratio of

punitive damages to compensatory damages, and (3) the difference between this remedy

and the civil penalties authorized or imposed in comparable cases.” Id.

       In State Farm. Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 419 (2003), citing Gore,

517 U.S. at 575, the Supreme Court reiterated that reprehensibility is the “most important

indicum” of the reasonableness of a punitive damages award. The Supreme Court listed

five factors to examine when considering reprehensibility:

       (1) whether the harm caused is physical rather than economic;
       (2) whether the conduct causing harm shows “indifference to or a reckless
       disregard of the health or safety of others;”

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       (3) whether the “target of the conduct” is vulnerable;
       (4) whether the defendant’s conduct involves repeated actions or
       an isolated incident; and
       (5) whether the harm is a result of “intentional malice, trickery, or deceit, or mere
       accident.”
       Id.

       The Supreme Court further noted that sanctions of double, treble or quadruple

damages have a long legislative history and are generally sufficient to deter and punish.

Id. at 425 (citing Gore, 517 U.S. at 581).

       Considering the factors identified in State Farm, the unrefuted facts of this case

show that a substantial punitive damages award is appropriate.

       First, the damage to Plaintiff Doe was physical, not just economical, while the

damage to Plaintiff Karen was emotional and psychological. Both Plaintiffs have suffered

severe and continuing emotional harm as a result of his conduct.

       Second, Defendant Blair’s conduct showed a complete disregard for Plaintiffs’

well-being. He targeted a vulnerable teenager who had a history of mental illness, and he

threatened her family—including Plaintiff Karen—with arrest, for their reasonable efforts

at ensuring that Plaintiff Doe was safe while under his care.

       Third, Plaintiff Doe, a minor, was particularly vulnerable to Defendant Blair’s

predatory acts. Given the disparity of authority between the parties, Plaintiff Karen also

was particularly vulnerable, given Defendant Blair’s status as a law-enforcement officer.

The Court should consider “the relative positions of power or authority between the

parties and determine whether the defendant misused his power or authority or abused




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the Plaintiffs’ weakness in the course of the wrongful conduct.” Dang v. Cross, 422 F.3d

800, 810 (9th Cir.2005).

         Fourth, the sexual abuse committed by Defendant Blair was not an isolated

incident but instead involved multiple acts perpetrated over several months.

         Fifth, the sexual abuse perpetrated by the Defendant Blair was undertaken for his

own personal gratification, while at the same time he completely disregarded the

permanent psychological damage he was causing his victim, a child, and her mother.

         The grooming, betrayal, and rape of a child by Defendant Blair, and his use of his

position as a law-enforcement officer to gain access to and victimize a 13-year-old girl,

was an outrageous abuse of power and authority. In consideration of all the State Farm

factors, an award of punitive damages in the range of three times the compensatory

damages, for each Plaintiff, is appropriate.

         Plaintiffs are further entitled to punitive damages under North Carolina’s punitive

damages statute. The standards of recovery under N.C. Gen. Stat. §§ 1D-15 and 1D-35 are

markedly similar to those outlined above, and Plaintiffs respectfully submit that the

evidence is clear and convincing that Defendant Blair’s conduct featured aggravating

factors including fraud, malice, and willful and wanton conduct. N.C. Gen. Stat. § 1D-

15(b).

         Plaintiff Doe respectfully requests that the Court award her $1,500,000.00 in

punitive damages, while Plaintiff Vaughn respectfully requests that the Court award her

$600,000.00 in punitive damages.



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C. Wrongful Conception Damages

      Plaintiff Karen Vaughn sued Defendant Blair for the negligent or intentional

infliction of emotional distress, and for medical expenses associated with Defendant

Blair’s wrongful conception of a child with Plaintiff Doe. (ECF No. 1, pp. 8-11, pars. 75-

89). North Carolina has long recognized the tort of wrongful conception, and its appellate

courts have ruled that pain-and-suffering damages associated with a wrongful

conception can be awarded to a claimant. Pierce v. Piver, 45 N.C. App. 111 (1980); Jackson

v. Bumgardner, 318 N.C. 172 (1986). The undersigned respectfully submits that North

Carolina courts have not yet recognized damages for the care and maintenance of

offspring conceived in wrongful circumstances.

                                    CONCLUSION

      Based on the foregoing, Plaintiffs pray the Court grant their Motion for Default

Judgment and award to Plaintiff Doe, to be paid by Defendant Blair, $500,000.00 in

compensatory damages and $1,500,000.00 in punitive damages; and to Plaintiff Karen

Vaughn, $200,000.00 in compensatory damages and $600,000.00 in punitive damages.

      This the 12th day of May, 2020.

                                         /s/ Paul A. Tharp
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                              CERTIFICATE OF SERVICE


       I hereby certify that on May 12, 2020, I electronically filed on behalf of Plaintiffs,
the foregoing Memorandum of Law in Support of Plaintiffs’ Motion for Default
Judgment with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to the following registered CM/ECF users or by depositing said
document(s) in an envelope addressed as indicated with proper postage attached thereto
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